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   UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE M. MILLER BAKER, JUDGE
____________________________________
DALIAN MEISEN WOODWORKING )
CO., LTD.,                          )
                                    )
           Plaintiff,               )
                                    )
CABINETS TO GO, LLC,                ) PUBLIC DOCUMENT
                                    )
           Plaintiff-Intervenor,    )
                                    )
      v.                            )     Court No. 20-00109
                                    )
UNITED STATES,                      )
                                    )
           Defendant,               )
                                    )
      and                           )
                                    )
AMERICAN KITCHEN CABINET            )
ALLIANCE,                           )
                                    )
           Defendant-Intervenors.   )
 ___________________________________)

        DEFENDANT’S REVISED MEMORANDUM
       IN OPPOSITION TO PLAINTIFF’S RULE 56.2
    MOTION FOR JUDGMENT ON THE AGENCY RECORD

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        GLOSSARY OF ACRONYMS AND ABBREVIATIONS

China           People’s Republic of China
Commerce        Department of Commerce
CONNUM          Control-number
IDM             Issues and Decision Memorandum
Meisen          Dalian Meisen Woodworking Co.
PDM             Preliminary Decision Memorandum




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    UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE M. MILLER BAKER, JUDGE
____________________________________
DALIAN MEISEN WOODWORKING )
CO., LTD.,                          )
                                    )
           Plaintiff,               )
                                    )
CABINETS TO GO, LLC,                ) PUBLIC DOCUMENT
                                    )
           Plaintiff-Intervenor,    )
                                    )
      v.                            )     Court No. 20-00109
                                    )
UNITED STATES,                      )
                                    )
           Defendant,               )
                                    )
      and                           )
                                    )
AMERICAN KITCHEN CABINET            )
ALLIANCE,                           )
                                    )
           Defendant-Intervenors.   )
 ___________________________________)

        DEFENDANT’S REVISED MEMORANDUM
       IN OPPOSITION TO PLAINTIFF’S RULE 56.2
    MOTION FOR JUDGMENT ON THE AGENCY RECORD

  Defendant, the United States, respectfully submits this response to

the motion for judgment on the agency record filed by plaintiff, Dalian

Meisen Woodworking Co. (Meisen), challenging the Department of

Commerce’s final determination in the antidumping investigation of

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wooden cabinets and vanities from the People’s Republic of China

(China). As demonstrated below, Commerce’s affirmative determination

is supported by substantial evidence and is otherwise in accordance

with law. Accordingly, the United States respectfully requests that the

Court sustain Commerce’s determination, deny Meisen’s motion and

enter judgment in favor of the United States.

            STATEMENT PURSUANT TO RULE 56.2(c)(1)
I.     Administrative Determination Under Review

     Meisen challenges the final determination of the antidumping duty

investigation of wooden cabinets and vanities from China, published as

Wooden Cabinets and Vanities and Components Thereof From the

People’s Republic of China: Final Affirmative Determination of Sales at

Less Than Fair Value, 85 Fed. Reg. 11,953 (Dep’t of Commerce Feb. 28,

2020) (Final Determination) (Appx001202-001211) and accompanying

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(Appx001109-001201), corrected by Wooden Cabinets and Vanities and

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Notice of Final Affirmative Determination of Sales at Less Than Fair

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(Corrected Final Determination) (Appx001212-001218). The period of

investigation is July 1, 2018 through December 31, 2018. Id.

II.     Issues Presented For Review
        1.     Whether Commerce’s application of facts available with an

adverse inference was based on substantial evidence and is in

accordance with law.

        2.     Whether Commerce’s decision not to conduct verification

with respect to Meisen was supported by substantial evidence and is in

accordance with law.

                         STATEMENT OF FACTS

      Commerce initiated its less-than-fair-value investigation of wooden

cabinets and vanities from China on March 26, 2019. See Initiation of

Less-Than-Fair Value Investigation of Wooden Cabinets and Vanities

and Components Thereof from the People’s Republic of China, 84 Fed.

Reg. 12587 (Dep’t of Commerce Apr. 2, 2019). In accordance with 19

U.S.C. § 1677f(1)(c)(2)(B), Commerce selected three mandatory

respondents for investigation: The Ancientree Cabinet Co., Rizhao

Foremost Woodwork Manufacturing Company Ltd., and Meisen. See

Less-Than-Fair-Value Investigation of Wooden Cabinets and Vanities

and Components Thereof from the People’s Republic of China:

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Respondent Selection Memo (Appx080000-080010). Where the subject

merchandise is exported from a nonmarket economy country, Commerce

must calculate the normal value based on the value of the factors of

production used in producing the merchandise. Id. (citing 19 U.S.C.

§ 1677b(c)). To make such a comparison, Commerce uses a set of

physical characteristics to assign a control-number (CONNUM) to each

unique product reported in the U.S. sales database as the first step in

its dumping analysis. Appx001195. This CONNUM matches a

corresponding CONNUM in the factors of production database. Id. As

part of this process, Commerce considered comments from interested

parties to determine the key physical characteristics used to identify

subject merchandise to report the relevant factors of production

accurately and develop appropriate product-comparison criteria. Id.

Commerce subsequently issued questionnaires to the mandatory

respondents requesting information concerning the respondents’ U.S.

pricing practices.

I.     Preliminary Determination And Post Preliminary Determination
       Questionnaires
     Commerce issued its preliminary affirmative determination on

October 9, 2019. See Wooden Cabinets and Vanities and Components


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Thereof from the People’s Republic of China: Preliminary Affirmative

Determination of Sales at Less Than Fair Value, Postponement of Final

Determination and Extension of Provisional Measures, 84 Fed. Reg.

54,106 (Dep’t of Commerce Oct. 9, 2019), and accompanying

Preliminary Decision Memorandum (PDM) (Appx001026-001093), as

corrected by Wooden Cabinets and Vanities and Components Thereof

from the People’s Republic of China: Amended Preliminary

Determination of Sales at Less Than Fair Value, 84 Fed. Reg. 61,875

(Dep’t of Commerce Nov. 14, 2019) (Appx001104-1106).

  In the preliminary determination, Commerce found that Meisen did

not accurately represent and report its production process and the

factors of production it consumed in the production of merchandise

under consideration, withheld information, failed to provide information

in the form or manner requested, and significantly impeded the

investigation. Appx001049. Commerce additionally concluded that

Meisen failed to cooperate to the best of its ability and thus the

application of total adverse facts available was appropriate. Id. at

Appx001049-001050.




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  Commerce based its findings in the preliminary determination on

record information indicating that, during the period of investigation,

Meisen marketed and sold merchandise produced using maple wood, a

primary raw material input that Meisen failed to report. Id. The finding

was also based in part on information on the record submitted by the

petitioner and defendant-intervenor, American Kitchen Cabinet

Alliance. Id. at Appx001049. This information included online and print

marketing materials from Meisen, and a sworn affidavit from an

individual with extensive experience in the wooden cabinets and

vanities industry. Id. This individual, who, through direct discussions

and information provided on the websites of J&K Companies—Meisen’s

affiliated, exclusive U.S. seller of subject merchandise—stated that the

merchandise in question was represented to him to be made from solid

maple wood. Id. Commerce explained it would continue to consider

whether the application of adverse facts available to Meisen was

warranted in light of any rebuttal factual information that may be

provided by Meisen and, if appropriate, any further information

requested by Commerce after the issuance of the preliminary

determination. Id. at Appx001050.



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  Subsequently, the parties submitted comments regarding

Commerce’s preliminary determination. Appx001194. Commerce

notified parties that it was suspending the planned verification of

Meisen in order to consider the post-preliminary determination

comments submitted, and might seek to reschedule the verification at a

later date. Commerce’s Letter Suspending Verification (Appx001103).

Commerce issued two supplemental questionnaires to Meisen to

address the discrepancy between the information Meisen provided on

factors of production, and the information on the record indicating

Meisen’s cabinets were sold as made of solid maple wood. Post-Prelim

Supplemental Questionnaire (Appx086551-086562); Second Post-

Prelim Supplemental Questionnaire (Appx087931-087940).

  Commerce, after considering Meisen’s responses to both

questionnaires, notified Meisen that it would not conduct verification

and would continue to find the application of adverse facts available

was warranted for Meisen because “the admission that Meisen

marketed and sold its cabinets as maple cabinets when, in fact, Meisen

claims that they were made of birch, highlights continued concerns

regarding the data reported {in the control numbers (CONNUMS)} for



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the normal value and reported U.S. prices.” Commerce’s Letter

Cancelling Verification at 2 (Appx001107-001108).

II.     Final Determination
      In the final determination, Commerce continued to find that the

application of total adverse facts to Meisen was warranted, and that its

decision to delay, and ultimately cancel verification was also warranted.

Appx001194. Commerce found that, although Meisen provided

documentation supporting its reported factors of production, its U.S.

sales database was comprised of sales of merchandise priced under

CONNUMs that are not included in its factors-of-production database.

Appx001197. Commerce further found that Meisen’s U.S. CONNUMs

do not represent the maple cabinets it purported to sell in its

advertising materials, and that the record does not contain factors-of-

production data for the products Meisen represented selling in the U.S.

market. Id.

      Commerce explained that the factors-of-production data submitted

by Meisen for birch cabinets could not be compared to the U.S. sales

information on the record because the sales information indicated the

cabinets were sold as maple cabinets. Appx001197. Due to the large



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difference in value between the two types of wood, Commerce found a

significant mismatch between the purported U.S. sales price for maple

cabinets, and the normal value for the birch cabinets as produced by

Meisen under the factors-of-production methodology used for

nonmarket economy countries. As a result, Commerce found it could not

compare the U.S. sales price of Meisen’s cabinets to a normal value

based on non-maple wood cabinets to determine whether Meisen may

be selling its cabinets at less than fair value. Id.

   Commerce determined that Meisen failed to fully disclose its U.S.

pricing practices, including reporting information essential to the

proper construction of the CONNUMs, and fully responding to

questionnaires related to these U.S. pricing practices. Commerce also

determined that Meisen failed to resolve the discrepancies between the

factors of production that Meisen reported it consumed in the

production of merchandise under consideration, and the information on

the record related to Meisen’s marketing and sale of merchandise under

consideration during the period of investigation. Accordingly, Commerce

found that Meisen withheld information, failed to provide information

in a timely manner, and significantly impeded the investigation



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pursuant to 19 U.S.C. § 1677e(a)(2)(A)-(C). Appx001200. Commerce also

found that Meisen had failed to cooperate to the best of its ability, and

thus Commerce determined that an adverse inference was warranted in

assigning a final margin to Meisen in accordance with 19 U.S.C.

§ 1677e(b). Id. Commerce thus based the final margin assigned to

Meisen only on the facts available. Id.

  Commerce further found that, because it was not relying on any of

Meisen’s reported information for the final determination, there was no

factual information upon which it relied that must be verified under 19

U.S.C. § 1677m(i)(1) and 19 C.F.R. § 351.307(b)(1)(i). Under these

circumstances, Commerce determined that it was not required to verify

the information, because in the situation where a respondent provides

substantially incomplete questionnaire responses and Commerce must

then base the company’s rate entirely on facts available, verification

was “meaningless.” Appx001198.

                  SUMMARY OF THE ARGUMENT
  Commerce’s final determination is supported by substantial evidence

and in accordance with law, and therefore, should be sustained. First,

Commerce correctly applied total adverse facts available with respect to



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Meisen. Meisen failed to fully disclose its U.S. pricing practices,

including reporting information essential to the proper construction of

the CONNUMs, which are the first building block in Commerce’s

dumping analysis, and failed to fully respond to questionnaires related

to these U.S. pricing practices. Meisen also failed to resolve the

discrepancies between its reported factors of production for the subject

merchandise and the information on the record related to Meisen’s

marketing and sale of merchandise under consideration during the

period of investigation. Accordingly, Commerce reasonably applied total

adverse facts available to fill the gaps left by the absence of two

comparable databases.

  Meisen challenges Commerce’s determination that necessary

information was missing from the record, contending that Commerce

had all the information it needed to make a determination. Meisen

further argues that the burden was in fact on Commerce to verify any

discrepancy between U.S. sales price information and factors-of-

production data. The law plainly places the burden on Meisen to

provide the necessary information required by Commerce to make its

determination. Nevertheless, Meisen’s arguments are contradictory and



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rely on its assertion that because birch cabinets “look” like maple

cabinets, and there is no optical difference between the finished

products, they were correctly advertised as maple cabinets. As

demonstrated below, these arguments have no merit.

     Second, Commerce did not act contrary to law when it declined to

verify Meisen’s information. Commerce did not rely on any of Meisen’s

reported information in making a final determination in the

investigation, and thus was not required under 19 U.S.C. § 1677m to

verify any of the information Meisen submitted.

     Accordingly, the Court should sustain Commerce’s determination to

apply adverse facts available with respect to Meisen because it was

based on substantial evidence and is in accordance with law.

                              ARGUMENT
I.     Applicable Legal Framework
       A.    Standard Of Review

     In reviewing Commerce’s antidumping duty determinations, “the

Court of International Trade must sustain ‘any determination, finding,

or conclusion found’ by Commerce unless it is ‘unsupported by

substantial evidence upon the record, or otherwise not in accordance

with law.’” Fujitsu Gen. Ltd. v. United States, 88 F.3d 1034, 1038 (Fed.

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Cir. 1996) (quoting 19 U.S.C. § 1516a(b)(1)(B)). Further, “{t}he specific

factual findings on which {Commerce} relies in applying its

interpretation are conclusive unless unsupported by substantial

evidence.” United States v. Eurodif S.A., 555 U.S. 305, 316 n.6 (2009).

“Substantial evidence” amounts to “more than a mere scintilla” of “such

relevant evidence as a reasonable mind might accept as adequate to

support a conclusion.” PAM, S.p.A. v. United States, 582 F.3d 1336,

1339 (Fed. Cir. 2009). The requisite proof may be “less than the weight

of the evidence, and the possibility of drawing two inconsistent

conclusions from the evidence does not prevent {Commerce’s} finding

from being supported by substantial evidence.” Consolo v. Fed. Mar.

Comm’n, 383 U.S. 607, 620 (1966) (citation omitted).

  Moreover, “the court may not substitute its judgment for that of the

{agency} when the choice is between two fairly conflicting views, even

though the court would justifiably have made a different choice had the

matter been before it de novo.” Goldlink Indus. Co. v. United States, 431

F. Supp. 2d 1323, 1326 (Ct. Int’l Trade 2006) (citation and quotation

marks omitted); see also Timken Co. v. United States, 699 F. Supp. 300,

306 (Ct. Int’l Trade 1988) (stating that it is “not within the Court’s



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domain either to weigh the adequate quality or quantity of the evidence

for sufficiency or to reject a finding on grounds of a differing

interpretation of the record”). Hence, a party challenging Commerce’s

determination under the substantial evidence standard “has chosen a

course with a high barrier to reversal.” Nippon Steel Corp. v. United

States, 458 F.3d 1345, 1352 (Fed. Cir. 2006).

   When reviewing Commerce’s determinations, “absent constitutional

constraints or extremely compelling circumstances,” this Court “will

defer to the judgment of an agency regarding the development of the

agency record.” PSC VSMPO-Avisma Corp. v. United States, 688 F.3d

751, 760 (Fed. Cir. 2012) (internal quotations and citations omitted).

“To do otherwise would ‘run the risk of propelling the courts into the

domain which Congress has set aside exclusively for the administrative

agency.’” Id. (quoting FPC v. Transcon. Gas Pipe Line Corp., 423 U.S.

326, 333 (1976)). Rather, “{t}he role of judicial review is limited to

determining whether the record is adequate to support the

administrative action.” Id. at 761.; see also Essar Steel Ltd. v. United

States, 678 F.3d 1268 (Fed. Cir. 2012) (reversing the Court of

International Trade’s order instructing Commerce to consider extra-



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record information because “the trial court’s order usurps agency power,

undermines Commerce’s ability to administer the statute entrusted to

it, contradicts important principles of finality, and discourages

compliance”).

     B.    Application Of Facts Available With An Adverse Inference

   Commerce will use “facts otherwise available” to fill gaps in the

record if: (1) necessary information is not available or (2) an interested

party withholds information requested by Commerce, fails to provide

the information by the deadline or in the manner requested,

significantly impedes the proceeding, or provides information that

cannot be verified. 19 U.S.C. § 1677e(a). If Commerce finds that a

respondent failed to cooperate by not acting “to the best of its ability to

comply with a request for information,” it may apply an adverse

inference in its selection of facts otherwise available. 19 U.S.C.

§ 1677e(b). Indeed, Commerce may apply an adverse inference for a

respondent’s “failure to cooperate to the best of respondent’s ability,

regardless of motivation or intent.” Nippon Steel Corp. v. United States,

337 F.3d 1373, 1382 (Fed. Cir. 2003). A respondent fails to act to the

best of its ability when it does not exert “maximum effort to provide



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Commerce with full and complete answers to all inquiries in an

investigation.” Id. Further, the standard requires that importers

“conduct prompt, careful and comprehensive investigations of all

relevant records that refer or relate to the imports in question to the

full extent of the importers’ ability to do so.” Id.

   “Because Commerce lacks subpoena power, Commerce’s ability to

apply adverse facts is an important one.” Essar Steel, 678 F.3d at 1276.

Thus, “{t}he purpose of the adverse facts statute is ‘to provide

respondents with an incentive to cooperate’ with Commerce’s

investigation.” Id. (quoting F.lli De Cecco Di Filippo Fara S. Martino

S.p.A. v. United States, 216 F.3d 1027, 1032 (Fed. Cir. 2000)).

   In selecting an adverse facts available rate, Commerce may rely on

information from: (1) the petition, (2) the final determination in the

investigation, (3) any previous administrative review, or (4) any other

information placed on the record. See 19 U.S.C. § 1677e(b); 19 C.F.R.

§ 351.308(c). When selecting an adverse rate from among the possible

sources, Commerce seeks to use a rate that is sufficiently adverse to

effectuate the statutory purpose of inducing respondents to provide

Commerce with complete and accurate information in a timely manner.



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See Ozdemir Boru San. Ve Tic. Ltd. v. United States, 273 F. Supp. 3d

1225, 1245 (Ct. Int’l Trade 2017). This ensures “that the party does not

obtain a more favorable result by failing to cooperate than if it had

cooperated fully.” See Statement of Administrative Action (SAA), H.R.

Doc. No. 103-316, vol. 1, at 870, reprinted in 1994 U.S.C.C.A.N. 4040,

4199.

II.     Commerce’s Application Of Total Adverse Facts Available To
        Meisen Is Supported By Substantial Evidence and In Accordance
        With Law
      The Court should sustain Commerce’s application of total adverse

facts available to Meisen because Commerce’s decision is supported by

substantial evidence and is in accordance with law. Commerce applied

facts available with an adverse inference to Meisen for several reasons.

First, Meisen failed to fully disclose its U.S. pricing practices, including

reporting information essential to the proper construction of the

CONNUMs. See Appx001193-001198. Second, Meisen failed to fully

respond to questionnaires related to these U.S. pricing practices. Id. In

failing to respond to questionnaires, Meisen failed to resolve

discrepancies between the factors of production that Meisen reported it

consumed in the production of the subject merchandise, and the



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information on the record related to Meisen’s marketing and sale of

merchandise under consideration during the period of investigation. See

id. Commerce repeatedly requested that Meisen resolve these

discrepancies, but did not receive adequate responses explaining why

Meisen’s reported U.S. sales price information and its factors-of-

production data appeared to involve two different products. Id. As a

result of Meisen’s failure to resolve these fundamental discrepancies,

Commerce found that Meisen did not cooperate to the best of its ability

and relied on total facts available with an adverse inference to calculate

an antidumping duty rate for Meisen. Id.

  In the final determination, Commerce explained that the use of facts

available was warranted because Meisen withheld information, failed to

provide information in a timely manner, and significantly impeded the

investigation. Appx001200. Specifically, Commerce found that Meisen

failed to explain why it exclusively markets its cabinets as “the finest

solid maple” despite claiming that it only produces cabinets using birch

wood. Appx001196. Meisen did not give any explanation for this

contradiction until after Commerce suspended verification and issued

multiple supplemental questionnaires requesting an explanation. Id.



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  The information that Meisen withheld or failed to provide, in the

form or manner requested, was necessary for Commerce to perform its

margin calculation. When Commerce determines whether a product is

being sold for less than fair value, it compares the U.S. sales price for

the product with a normal value for the product in question.

Appx001197. Thus, Commerce solicits comments so that it can make a

reasoned decision about how respondents are to report physical

characteristics in construction of the CONNUM. Id. The purpose of this

process is to avoid a scenario where the U.S. price for a more expensive

product is compared to the normal value for a less expensive product (or

vice versa). Id. In accordance with this purpose, Commerce

intentionally separated certain species of wood by grade into separate

codes in order to match similar prices to similar costs. Id. By

misrepresenting the product being sold, Meisen distorted the

comparison that Commerce is tasked with making. Instead, Meisen

created a situation in which the information on the record related to

U.S. sales price and to the factors of production are for two different

products—maple cabinets and birch cabinets. Id.




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  To determine whether a product is being sold at less than fair value,

Commerce must establish how products are differentiated.

Differentiation allows Commerce to make an appropriate comparison

between the export price or constructed export price of the subject

merchandise, and the normal value of that subject merchandise.

Appx001195 (citing 19 C.F.R. § 351.401(a)). Where the subject

merchandise is exported from a nonmarket economy country, Commerce

must calculate the normal value based on the value of the factors of

production used in producing the merchandise. Id. (citing 19 U.S.C. §

1677b(c)). To make such a comparison, Commerce uses a set of physical

characteristics to assign a CONNUM to each unique product reported in

the U.S. sales database. Appx001195. This CONNUM matches a

corresponding CONNUM in the factors of production database. Id. As

part of this process, Commerce considered comments from interested

parties to determine the key physical characteristics used to identify

subject merchandise to report the relevant factors of production

accurately and develop appropriate product-comparison criteria. Id.

  Meisen, in its initial comments for the establishment of CONNUMs

for this investigation, argued against grouping wood species used as the



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face material of the subject merchandise in broad groupings of solid

wood products. In support, Meisen stated that “reporting the type of

wood used as the face material is plainly an important characteristic,

and thus must be reported precisely.” Meisen’s Letter Meisen’s Letter

Regarding Rebuttal Comments on Product Characteristics at 3

(Appx001006-001025). Meisen further argued that grouping products in

such a “vague grouping” is “not tenable” as it would “allow for

manipulation and distortion of surrogate values” and would ultimately

result in “a less accurate margin calculation.” Id. Meisen characterized

such a grouping as resulting in an “apples-to-oranges” comparison and

suggested instead collecting data based on individual wood species. Id.

  Meisen’s argument in its initial comments is in direct contrast to

Meisen’s current argument against Commerce’s decision to apply total

adverse facts available. Id. In the investigation, Meisen failed to provide

any adequate explanation or supporting evidence justifying why all of

its marketing materials referred to the sale of maple cabinets, when its

narrative explanations and information related to the factors of

production indicate Meisen only produced birch cabinets. Id. Instead of

explaining the discrepancy, Meisen restated in its first post-preliminary



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supplemental questionnaire response that it only sold cabinets

produced from birch. Meisen’s Post-Preliminary Supplemental

Questionnaire Response at 11 (Appx086563-087930). Meisen further

contended that because Meisen only sold birch cabinets, that J&K

Companies only sold cabinets produced by Meisen, J&K Companies

thus only sold cabinets that were produced by Meisen using birch wood.

Appx001196. Meisen provided no further explanation for this circular

argument. Finally, in its second post-preliminary questionnaire

response, Meisen discounted the difference between birch and maple by

stating that the price lists indicating it only sells maple cabinets are

generic price lists used as pricing guides for the sales person, and do not

include final descriptions. Id.

   Meisen also characterized references to maple in the advertising

information as references to the facial appearance of the cabinets. Id.

According to Meisen, the cabinets were exclusively marketed as maple

cabinets because Meisen’s birch cabinets “look” like maple cabinets. Id.

Meisen also claimed that the advertising discrepancy was because there

is no “optical difference” between maple and birch once the cabinet is

finished. Id. Meisen thus admits that it has neither advertised, nor



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offered birch cabinets for sale. Accordingly, based on the many

references in the record of maple cabinets, Meisen’s admission that it

does not advertise any birch products, and Meisen’s statements alleging

no difference between its cabinets and maple cabinets, Commerce

reasonably concluded that Meisen’s U.S. sales price does not represent

the U.S. sales price of birch cabinets. Id.

   Meisen’s argument that Commerce should nevertheless rely on

Meisen’s reported U.S. sales price database as a comparison point for

birch cabinets is untenable. Meisen Br. at 15-16. Using Meisen’s own

rationale, comparing the species of wood used as the “face” of a

cabinet—the appearance of the wood—allows for “manipulation and

distortion” of surrogate values and a “less accurate margin calculation”

than if Commerce were to compare based on individual wood species.

Appx001195. Using individual wood species would ensure a more

precise comparison between the species sold in the U.S. market and the

species used in the factors of production. Id.

   Meisen did not provide any adequate explanation for why its U.S.

sales database is comprised of merchandise priced as products not

included in its factors-of-production database. Appx001197. In addition,



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Meisen’s U.S. CONNUMs do not represent the maple cabinets it

advertised, and the record does not contain factors of production for the

products Meisen represented that it was selling in the U.S. market. Id.

The resulting U.S. prices for maple cabinets and factors-of-production

data for birch cabinets introduces “a significant mismatch between the

two pillars of {Commerce’s} antidumping duty calculation.” Id.

Accordingly, Commerce only had available for use in its determination

two non-comparable databases. These databases were a U.S. price

database for sales of products advertised and represented as maple

cabinets (irrespective of whether Meisen reported them as sales of birch

cabinets), and a factors-of-production database for cabinets made of

birch wood. Appx001197. Because the databases were based on products

made of different wood with significantly different surrogate values,

Commerce could not adequately compare the U.S. sales price with the

factors-of-production information provided by Meisen. Thus, Commerce

could not determine whether Meisen’s cabinets were being sold at less

than fair value, regardless of whether the determination was with

respect to maple cabinets or birch cabinets. Id.




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  Without the necessary information related to either factors of

production for maple cabinets, or U.S. price information for birch

cabinets, Commerce found that Meisen had withheld information, failed

to provide such information in a timely manner, and significantly

impeded the investigation, pursuant to 19 U.S.C. § 1677e(a)(2)(A)-(C).

Appx001200. Commerce found that Meisen could have raised the issue

of the discrepancies between the products it marketed to its customers

and those it reported to Commerce earlier in the investigation. This

finding was reasonable particularly in light of the fact that Meisen had

expressed concerns of properly capturing the wood species in the

CONNUM and that the way CONNUMs captured wood species could

affect product matches, and therefore the dumping margin. Id.

  Commerce also found that Meisen did not cooperate to the best of its

ability in responding to Commerce’s request for information by not

disclosing the fact that it exclusively marketed its cabinets as maple

cabinets until after the preliminary determination. In fact, Meisen only

disclosed that information “after Commerce suspended verification and

expended considerable time and resources to issue multiple

supplemental questionnaires and review thousands of pages of



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documentation submitted in response to those questionnaires.” Id.

Commerce therefore found that Meisen failed to cooperate by not acting

to the best of its ability and that an adverse inference was warranted in

assigning a final margin to Meisen, in accordance with 19 U.S.C.

§ 1677e(b)(1)(A). Id.

   The statute authorizes Commerce to “use an inference that is

adverse to the interests of th{e} party in selecting from among the facts

otherwise available” if it “finds that an interested party has failed to

cooperate by not acting to the best of its ability to comply with a request

for information{.}” 19 U.S.C. § 1677e(b)(1). This standard “requires the

respondent to do the maximum it is able to do.” Nippon Steel, 337 F.3d

at 1382. “The statutory trigger for Commerce’s consideration of an

adverse inference is simply a failure to cooperate to the best of

respondent’s ability, regardless of motivation or intent.” Id. When

relying on facts available with an adverse inference, the Federal Circuit

has held that “{i}n general, use of partial facts available is not

appropriate when the missing information is core to the antidumping

analysis and leaves little room for the substitution of partial facts

without undue difficulty.” Mukand, Ltd. v. United States, 767 F.3d



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1300, 1307-1308 (Fed. Cir. 2014). This Court has sustained the

application of total adverse facts available under similar factual

circumstances, where Commerce provided multiple opportunities to

resolve a deficiency through supplemental questionnaires and the

respondent company still failed to provide the requested information.

See Bebitz Flanges Works Private Limited v. United States, 433 F. Supp.

3d 1309, 1323, 1326-1329 (Ct. Int’l Trade 2020) (finding Commerce was

justified in disregarding respondent’s submissions and applying total

adverse facts available when respondent failed to submit complete,

verifiable databases despite multiple supplemental questionnaires

addressing the deficiency).

  Here, similar to the factual circumstances in Bebitz, Commerce did

not have any partial facts available to apply in order to calculate a

margin for Meisen. As Commerce explained in the final determination,

the U.S. sales price information and factors of production information

are two pillars of the antidumping duty calculation. Because Meisen

established the U.S. price based on a different type of wood than it

reported in its factors-of-production database, Commerce could not

perform a meaningful comparison of normal value to U.S. price through



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a maple-cabinets-to-maple-cabinets or birch-cabinets-to-birch cabinets

comparison. Appx001197. With no information available that

Commerce could use to determine whether Meisen may be selling at

less than fair value, Commerce had to rely on total adverse facts

available in order to calculate a margin. Appx001193-001200.

  Meisen, contrary to what the record demonstrates, argues that there

is no necessary information missing from the record, there are no gaps

in the record, and there are no deficiencies in Meisen’s responses.

Meisen further attempts to paint the discrepancy found on the record

solely as an issue of “whether the cabinets made by Meisen and sold by

Meisen’s U.S. affiliates were made of maple or birch wood.” Meisen Br.

at 14. According to Meisen, Commerce had all of the information it

needed to make a determination based on the information and

explanations submitted by Meisen. Id. at 15. Under Meisen’s reasoning,

Commerce merely needed to compare the sales of Meisen’s birch

cabinets made at the price for maple cabinets—represented in the U.S.

market exclusively as maple cabinets—with the constructed normal

value for birch cabinets, using the provided factors-of-production data

for birch cabinets. Id. at 16. Meisen further argues that Commerce



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“improperly relied on a finding that Meisen’s U.S. affiliates misstated

the type of wood to its customers to support the imposition of total

adverse facts available.” In addition, Meisen argues that even if

Meisen’s U.S. affiliates were “misleading their customers by claiming

that the cabinets were made of maple when they were really of birch…

then the information Meisen submitted in its databases is correct and

Commerce had all of the information it needed to determine if there was

dumping.” Id. at 23.

   According to Meisen, Commerce does not have the authority to

invoke adverse inferences against Meisen under the circumstances

because Meisen misrepresenting its products to U.S. customers is

allegedly a matter under the jurisdiction of the Federal Trade

Commission matter, not Commerce has authority. Id. at 24. Finally,

Meisen argues that, even if Commerce had the power to impose facts

available or adverse inferences under these circumstances, the

discrepancy of whether Meisen produced and sold cabinets made of

maple or birch wood “is not a sufficient basis for rejecting all of the

information submitted by Meisen and use total adverse facts available.”

Id. at 28.



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  But Commerce was well within its statutory authority to rely upon

total adverse facts available because the information before it was

contradictory. See Appx001195-001200. On one hand, Commerce had

U.S. sales price information for cabinets represented as one type of

wood, and on the other, it had factors-of-production data based on

cabinets made from a different, much cheaper type of wood. See id. As

Meisen argues in citing National Nail Corp. v. United States, the Court

has sustained Commerce’s use of total adverse facts available where the

record contained “no usable information for core components of

Commerce’s dumping analysis… and (2) substantial evidence showed

that the respondent was egregious in its failure or refusal to comply

with Commerce’s requests for information.” Meisen Br. at 28 (citing

Nat’l Nail Corp. v. United States, 390 F. Supp. 3d 1356, 1375 (Ct. Int’l

Trade 2019)).

  The fact of the matter is that Meisen represented and sold its

cabinets as maple cabinets, despite the cabinets being made solely

using birch wood. Appx001197; Meisen Br. at 23. This misleading

representation results in a U.S. sales price based on the customer’s

understanding that the cabinet being sold is made of maple.



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Appx001197; Meisen Br. at 23. Commerce’s less-than-fair-value

calculation is based on separating products by unique codes to ensure

similar products are matched with each other, and to further ensure

reliability and accuracy. Thus, it is unclear how Commerce could

compare U.S. sales prices of products under one CONNUM with the

factors-of-production data based on the surrogate value of another

product under a different CONNUM. Appx001197.

  Further, contrary to what Meisen claims, Commerce’s application of

total adverse facts available was not an attempt at “punishing Meisen

for what it believes to be misstatements in its U.S. affiliates’ marketing

material and statements to customers.” Meisen Br. at 22. Commerce’s

application of total adverse facts available was due to the inability to

accurately compare the U.S. sales price information with the factors-of-

production data on the record. Appx001197-001198. Commerce clearly

stated in the final determination that “such business practices fall

within the expertise of the U.S. Federal Trade Commission” and thus

the punishment or any related enforcement actions would be handled

by that agency. Appx001200.




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  Meisen was given numerous chances to explain why its cabinets were

exclusively advertised and sold to customers in the United States as

maple cabinets despite being made solely of birch. Despite these

chances, Meisen never provided an adequate explanation for the

discrepancy. The explanation Meisen did give failed to resolve the issue

Commerce was facing. Appx001196. In responding to Commerce’s

requests for information, Meisen was required to respond to

Commerce’s questions and submit documents demonstrating that it

only used birch wood, as it claimed. Meisen Br. at 21. Meisen should

have responded fully and directly to Commerce’s request for an

explanation regarding the discrepancy on the record. It was Meisen’s

sole responsibility to build the record and to respond to Commerce’s

questions to the best of its ability. See QVD Food Co. v. United States,

658 F.3d 1318, 1324 (Fed. Cir. 2011) (“Although Commerce has

authority to place documents in the administrative record that it deems

relevant, ‘the burden of creating an adequate record lies with

{interested parties} and not with Commerce’”) (citations omitted).

Contrary to Meisen’s claims, Commerce did not have the responsibility

to resolve the discrepancy through verification. Instead, it was Meisen’s



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responsibility to exercise its best effort in responding to Commerce’s

questionnaires by explaining to Commerce why it exclusively advertised

and sold its cabinets under the premise that they were made of maple,

despite being made of birch and reported in their U.S. sales database as

sales of birch cabinets. As the “party in possession of the necessary

information,” Meisen bore “{t}he burden of production,” which it did not

fulfill. Zenith Elecs. Corp. v. United States, 988 F.2d 1573, 1583 (Fed.

Cir. 1993).

  Meisen’s responses to two supplemental questionnaires further

solidified the discrepancy between the U.S. sales price information and

the factors-of-production data. As a result, Commerce was faced with

comparing two databases based on two different products with

significantly different prices, which is completely contradictory to the

rationale and purpose of Commerce’s antidumping duty calculations.

Appx001196. Meisen’s only explanation was that its cabinets “look” like

maple cabinets, despite being made of birch, and thus “there is no

optical difference in the finished good between maple and birch once the

cabinet is finished.” Id. Whether a product looks like another product

does not change the actual materials from which that product is made,



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and thus it is unclear how such an explanation was meant to resolve the

discrepancies between information contained on the record of the

investigation. Notably, Meisen itself does not explain what record facts

were available to use as “neutral facts available or partial adverse facts

available” to otherwise resolve this discrepancy if Commerce were to

apply an adverse inference other than total adverse facts available. See

Meisen Br. at 28-29. Commerce instead reasonably applied total

adverse facts available, and has met the standard that total adverse

facts available is appropriate when “the missing information is core to

the antidumping analysis and leaves little room for the substitution of

partial facts without undue difficulty.” Mukand, 767 F.3d at 1307-1308.

   Thus, Commerce’s total adverse facts available determination is

based on Meisen’s failure, based on the information reasonably

available to it, to fully disclose its selling practices to Commerce in a

timely manner, to provide Commerce with a reasonable explanation for

the discrepancies between Meisen’s sales advertisements and factors-of-

production data located on the record, despite being given several

opportunities to provide such information, and to provide useable data

for purposes of calculating an accurate dumping margin. Accordingly,



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this Court should sustain Commerce’s use of an adverse inference in

selecting from the facts otherwise available in calculating an

antidumping duty margin for Meisen.

III.     Commerce’s Decision Not To Verify Meisen’s Factors Of
         Production Is Supported By Substantial Evidence And In
         Accordance With Law
       Meisen contends that “{t}o the extent that there were factual

discrepancies that Commerce believed needed to be resolved Commerce

was required to conduct a verification.” Meisen also argues that the

issue could have been resolved through verification because Commerce

verified the same issue in the parallel countervailing duty verification.

Meisen Br. at 26-27. As an initial matter, these assertions are

irrelevant because Meisen should have responded to Commerce’s

questionnaires to explain why there was a discrepancy on the record

between the U.S. sales information and the factors-of-production

information. Again, it was Meisen’s responsibility to build the record

and to respond to Commerce’s questions to the best of its ability. See,

e.g., QVD Food, 658 F.3d at 1324 (“Although Commerce has authority to

place documents in the administrative record that it deems relevant,

‘the burden of creating an adequate record lies with {interested parties}



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and not with Commerce.’”). The burden to resolve any discrepancy does

not belong with Commerce. Accordingly, Meisen has failed to provide

any explanation for why this burden should be shifted to Commerce in

contradiction to established precedent. See Meisen Br. at 24-27.

  The information obtained through verification in the countervailing

duty investigation would not resolve the deficiencies in Meisen’s

reported information on the record of this investigation. Appx001197.

Verification in this proceeding also would not resolve the deficiencies.

Id. The statutory purpose of a countervailing duty investigation does

not entail comparison between normal value and export price. See 19

U.S.C. § 1671 et seq. Regardless, verification would at best have shown

that Meisen produced cabinets made solely of birch wood, as it did in

the CVD investigation. Verification could not have resolved the obvious

discrepancies between the U.S. sales price information for cabinets that

were exclusively advertised as, and sold under the pretenses of being,

maple cabinets—despite the cabinets being made solely of birch wood.

Id. Instead, Meisen had the responsibility to report accurate factors-of-

production and sales information, to disclose early in the proceeding

any issues related to that data, and to respond fully and completely, to



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the best of its ability, to Commerce’s repeated questions regarding an

explanation for the discrepancies contained on the record.

  Verification also would not have served to resolve any discrepancies,

and Meisen fails to establish any legal error committed by Commerce in

not verifying. See Meisen Br. at 24-27. Commerce is required to “verify

all information relied upon” in making a final determination in an

investigation. 19 U.S.C. § 1677m(i) (emphasis added). In making a

determination, Commerce is only required to consider and rely upon

information under section 1677m(e) when that information can be

verified. See 19 U.S.C. § 1677m(e)(2). Here, Commerce found that

necessary information, such as factors of production for maple cabinets

or a U.S. sales price database for birch cabinets, was missing from the

record. Commerce also determined that Meisen had not acted to the

best of its ability in providing the information requested to otherwise

explain the discrepancies found on the investigation record. Thus,

because Meisen had submitted substantially deficient responses that

did not directly address why Meisen was exclusively advertising their

cabinets as made of maple despite being made entirely of birch,

Commerce was under no obligation to use the information. See 19



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U.S.C. § 1677m(e); Appx001198. Because Commerce could not use the

information, it had no reason to verify it. See 19 U.S.C. § 1677m(i)

(Commerce “shall verify all information relied upon . . . .”) (emphasis

added).

  This Court has previously explained the extent of Commerce’s duty

to follow up and clarify discrepancies on the record. “If Commerce

‘determines that a response to a request for information … does not

comply with the request,’ Commerce ‘shall promptly inform the person

submitting the response of the nature of the deficiency and shall, to the

extent practicable, provide that person with an opportunity to remedy

or explain the deficiency.’” Shandong Dongfang Bayley Wood Co., Ltd. v.

United States, 375 F.Supp.3d 1339, 1347 (Ct. Int’l Trade 2019)(citing 19

U.S.C. § 1677m(d)). Commerce “‘satisf{ies} its obligations under section

1677m(d) when it issue{s} a supplemental questionnaire specifically

pointing out and requesting clarification of {the party’s} deficient

responses.’” Shandong, 375 F. Supp. 3d at 1347 (citing NSK Ltd. v.

United States, 481 F.3d 1355, 1360 n.1 (Fed. Cir. 2007)). Furthermore,

the Court in Shandong held that because “Commerce did not rely upon

Bayley’s questionnaires, it did not need to verify them.” Id. at 1346.



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  The Court is faced with the same situation here. Commerce based its

adverse facts available application in the preliminary determination in

large part on the discrepancies between the U.S. sales price information

and the factors-of-production information on the record. Appx001193.

To resolve this discrepancy, Commerce, through multiple

questionnaires, requested an explanation for why Meisen’s products

were marketed and sold to customers exclusively as maple cabinets,

despite being made exclusively of birch based on information Meisen

itself submitted to the record. Appx001194. Meisen failed to adequately

respond to the questions and instead stated that its cabinets were solely

made of birch and sold as birch cabinets, but were marketed as maple

cabinets because they “look” like maple cabinets after being finished.

Appx001196-001197. Commerce found these questionnaire responses to

be inadequate, notified Meisen that it found its responses to be

inadequate, and did not rely on that information in making its final

determination. Appx001194-001200. Meisen’s claim that Commerce

used the discrepancy as a means to resort to adverse facts available and

should instead have verified the reported information, is contradictory

and shows a clear misunderstanding of the statute. See Meisen Br. at



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26. Just as the Court found in Shandong, here Commerce did not have

to verify the information Meisen submitted to the record because it did

not rely on this information in making its final determination. Instead,

Commerce relied on the total adverse facts available because of an

inability to square away the discrepancies between two fundamental

pillars of the antidumping duty calculation. See Shandong, 375

F.Supp.3d at 1346-1347; Appx 001197-001200.

  Accordingly, this Court should sustain Commerce’s decision not to

verify Meisen’s submitted information in the investigation.




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                           CONCLUSION

  For these reasons, we respectfully request that the Court sustain

Commerce’s final affirmative determination in the investigation of

wooden cabinets and vanities from China.


                                       Respectfully submitted,

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                 CERTIFICATE OF COMPLIANCE

  I hereby certify, pursuant to section 2(B)(1) of the Standard

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words, excluding the table of contents, table of authorities, any

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                            /s/ Ioana Cristei

April 5, 2021




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